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                                                          October 7, 2019


       Via Regular mail:
       To:   Hon. Cathy L. Waldor,
             United States Magistrate Judge
             United States District Court
             District Court of New Jersey
             Dr. Martin Luther King, Jr. Courthouse
             50 Walnut Street, Room 4040
             Newark, NJ 07101

       RE:     Rakofsky v. United Healthcare Services, Inc.
               Docket #:    2:19-cv-09575-ES-CLW

       Dear Judge Waldor,

              I am in receipt of Your Honor’s Order, which scheduled an In-Person Status
       Conference on Monday, December 2, 2019. Because I will be out of town for the
       holidays, if possible, I respectfully request that the In-Person Status Conference be
       moved up to any day from Monday, November 18, 2019 through Monday, November 25,
       2019.

             If Your Honor has any further questions, please do not hesitate to make contact
       with me. Thank you.


       Respectfully submitted,

       /s/ Joseph Rakofsky

       Joseph Rakofsky, Esq.
